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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION


     UNITED STATES OF AMERICA,

                    Plaintiff,                                   No. 1:06-cr-119

     v.                                                          Hon. John Corbett O’Meara

     GABRIEL GARCIA-MARTINEZ, D-1

                 Defendant,
     _____________________________/


                             ORDER AND JUDGMENT
             APPROVING SUPPLEMENTAL REPORT AND RECOMMENDATION

            The Court has reviewed the Supplemental Report and Recommendation filed by the

     United States Magistrate Judge in this action. The Report and Recommendation was duly

     served on the parties, and no objection has been made thereto within the time required by law.

            THEREFORE, IT IS ORDERED that:

            1.      The Supplemental Report and Recommendation of the Magistrate Judge (docket

                    # 50) is approved and adopted as the opinion of the Court.

            2.      Defendant’s plea of guilty is accepted and defendant is adjudicated guilty of the

     charge set forth in Count [1] of the [Indictment].

            3.      The written plea agreement is hereby continued under advisement pending

     sentencing.



     Dated: September 27, 2006
                                                          s/John Corbett O'Meara
                                                          United States District Judge
                                                          Eastern District of Michigan
